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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

AVAGO TECHNOLOGIES                                   )
INTERNATIONAL SALES PTE. LTD.,                       )
1 Yishun Avenue 7                                    )
Singapore, Singapore 768923                          )
                                                     )
                 Plaintiff,                          )
                                                     )
    v.                                               )        Civil Action No. 1:22-cv-1159
                                                     )
 BROADCOM L.L.C.,                                    )
 600 Kenilworth Terrace NE, Apt. 212                 )
 Washington, D.C. 20019                              )
                                                     )
                 Defendant.
                                                     )


  PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT PURSUANT TO FED. R.
                       CIV. P. 7.1 AND LCvR 26.1


         Certificate required by LCvR 26.1 of the Local Rules of the United States District Court

for the District of Columbia:

         I, the undersigned, counsel of record for Plaintiff Avago Technologies International

Sales Pte. Limited, certify that to the best of my knowledge and belief, the following are parent

companies, subsidiaries, affiliates, or companies which own at least 10% of the stock of Avago

Technologies International Sales Pte. Limited which have any outstanding securities in the

hands of the public: Broadcom Inc.

         These representations are made in order that judges of this Court may determine the need

for recusal.

Dated: April 26, 2022                         Respectfully submitted,


                                              /s/ Aarti Shah
                                              Aarti Shah (D.C. Bar No. 1020679)
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                            Counsel for Plaintiff Avago Technologies
                            International Sales Pte. Ltd.




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